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                                                            November 12, 2021
Document Electronically Filed
Hon. Barbara C. Moses
United States Magistrate Judge
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312                                                         11/15/21

                      Re:     Feliciano v. Commissioner of Social Security
                              Civil Action No: 1:20-cv-11083-BCM

Dear Judge Moses:

        This letter respectfully requests an extension of time of sixty (60) days for Plaintiff to
serve her Motion for Judgment on the Pleadings in this matter. Plaintiff’s Motion for Judgment
on the Pleadings is currently due on November 19, 2021. However, due to the backlog of
transcripts created by COVID-19 and the Commissioner’s response, the Commissioner is able to
produce records at a rapid pace. As a result, this has caused multiple, simultaneous filing
deadlines that cannot be met. Plaintiff cannot meet the current briefing deadline. This extension
is needed to thoroughly and properly prepare her Motion. Plaintiff’s counsel has contacted
defense counsel who consents to this request. This would be a first request to extend the time to
serve Plaintiff’s Motion.

       If this request is granted, Plaintiff’s Motion for Judgment on the Pleadings will be due on
January 18, 2022. Subsequently, in accordance with the pattern of the Scheduling Order (Dkt.
No. 10), the Commissioner’s response to the Motion for Judgment on the Pleadings would then
be due March 21, 2022. Plaintiff’s Reply would then be due April 11, 2022.

Thank you for your consideration.            Respectfully submitted,

                                             /s/ Howard D. Olinsky
                                             Howard D. Olinsky, Esq.
                                             Bar Code H06529
                                             Counsel for Plaintiff

CC [via ECF]: Amanda Frances Parsels (Counsel for Defendant)

SO ORDERED.
        11/15/21
Dated: __________________                            ___________________________
       New York, NY                                  Honorable Barbara C. Moses
                                                     U.S. Magistrate Judge
